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 4
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 5 Chapter 7 Trustee

 6

 7                            UNITED STATES BANKRUPTCY COURT

 8                             CENTRAL DISTRICT OF CALIFORNIA

 9                                    LOS ANGELES DIVISION

10

11 In re:                                      Case No. 2:18-bk-20704-NB
12 FINNIAN OSAKPAMWAN EBUEHI                   Chapter 7
13 and                                         NOTICE OF MOTION AND MOTION
                                               FOR (1) ORDER TO COMPEL
14 ELIZABETH OLOHIRERE EBUEHI,                 TURNOVER OF PROPERTY OF THE
                                               BANKRUPTCY ESTATE AND
15                Debtors.                     ESTABLISHING PROCEDURES FOR
                                               REMOVAL AND DISPOSAL OF ANY
16                                             REMAINING PERSONAL PROPERTY,
                                               AND (2) WRIT OF ASSISTANCE;
17                                             MEMORANDUM OF POINTS AND
                                               AUTHORITIES; DECLARATIONS OF
18                                             PETER J. MASTAN, PAMELA C.
                                               TEMPLE, AND ASHLEIGH A. DANKER
19                                             IN SUPPORT THEREOF; AND
                                               EXHIBITS
20
                                               Date:       March 31, 2020
21                                             Time:       11:00 a.m.
                                               Ctrm:       1545
22                                                         255 E. Temple Street
                                                           Los Angeles, California 90012
23                                             Judge:      Hon. Neil W. Bason
24

25

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  1           TO THE HONORABLE NEIL W. BASON, UNITED STATES BANKRUPTCY

  2 JUDGE, THE DEBTORS AND THEIR COUNSEL, THE OFFICE OF THE UNITED

  3 STATES TRUSTEE, AND ALL INTERESTED PARTIES:

  4           NOTICE IS HEREBY GIVEN that, on March 31, 2020 on the 11:00 a.m. calendar, in

  5 Courtroom 1545 of the United States Bankruptcy Court located at 255 E. Temple Street, Los

  6 Angeles, California 90012, the Honorable Neil W. Bason, United States Bankruptcy Judge

  7 presiding, will conduct a hearing on the Notice Of Motion And Motion For (1) Order To Compel

  8 Turnover Of Property Of The Bankruptcy Estate And Establishing Procedures For Removal And

  9 Disposal Of Any Remaining Personal Property, And (2) Writ Of Assistance; Memorandum Of

 10 Points And Authorities; Declarations Of Peter J. Mastan, Pamela C. Temple, And Ashleigh A.

 11 Danker In Support Thereof; And Exhibits (the “Motion”) filed by Peter J. Mastan, Chapter 7 trustee

 12 (the “Trustee”) of the bankruptcy estate (the “Estate”) of joint debtors Finnian Osakpamwan Ebuehi

 13 and Elizabeth Olohirere Ebuehi (collectively, the “Debtors” or the “Ebuehis”) in the above-

 14 captioned bankruptcy case (the “Case”). Specifically, through the Motion, the Trustee shall move,

 15 and hereby does move, for an order that does all of the following:

 16           1.     Grants the Motion.

 17           2.     Finds Federal Rule of Bankruptcy Procedure (“FRBP”) 7070 to be applicable to the

 18 Motion and all efforts to enforce the Order on the Motion.

 19           3.     Compels the Debtors, and all other persons, if any, claiming rights of possession

 20 through the Debtors with respect to the residence located at 619 W. Gladstone Street, Glendora,

 21 91740 (the “Gladstone Property”) (collectively, the “Occupants”), to deliver possession of the

 22 Gladstone Property to the Trustee (by personally vacating the Gladstone Property, removing all of

 23 their personal property from the Gladstone Property, leaving the Gladstone Property in broom-clean

 24 condition, and delivering to the Trustee the keys to the Gladstone Property, security codes for all

 25 security systems, and any garage door and/or driveway gate remote controls that may exist) within

 26 two (2) business days after the entry of the Order on this Motion.

 27           4.     Deems any personal property remaining in or on the Gladstone Property after two

 28 (2) business day after entry of the Order on this Motion to have been abandoned by the Occupants.

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  1           5.     Approves the Motion in substantially the form of Order attached to the Motion as

  2 Exhibit 4 providing that the Order constitutes a writ of possession and writ of assistance for the

  3 Gladstone Property, and, in accordance with 11 U.S.C. § 105, FRBP 7070, and Local Bankruptcy

  4 Rule 7064-1, contains the following language:

  5                          Upon execution and entry of this Writ or Order, the United
                     States Marshals Service (the “U.S. Marshal”) is immediately directed
  6                  to assist the Trustee to enforce the underlying Order awarding
                     possession.
  7
                             The Trustee and/or his authorized agents will act as substitute
  8                  custodian of any and all items of personal property seized pursuant to
                     this Order and the U.S. Marshal shall have no liability arising from any
  9                  acts, incidents, or occurrences in connection with the seizure of the
                     personal property located at the subject real property arising in the
 10                  ordinary authorized scope of duties of the U.S. Marshal (which acts do
                     not include acts arising from negligent or intentional tortious conduct),
 11                  including any third party claims and the U.S. Marshal shall be
                     discharged of his or her duties and responsibilities for safekeeping of
 12                  the seized goods.

 13                          The U.S. Marshal accomplishing such seizure shall use
                     whatever reasonable force necessary to break open and enter the
 14                  subject real property regardless of whether the premises or location is
                     locked or unlocked, occupied or unoccupied and to inspect the
 15                  contents of any room, closet, cabinet, vehicle, container, desk or
                     documents.
 16
                             Anyone interfering with the execution of this Order is subject
 17                  to arrest by law enforcement officials.

 18

 19           6.     If the Occupants fail to timely vacate the Gladstone Property, authorizes the Trustee

 20 to instruct the U.S. Marshal Service to execute the Writ or Order by (a) evicting and locking out all

 21 Occupants of the Gladstone Property, (b) using all necessary force to effectuate the eviction; and (c)

 22 surrendering possession of the Gladstone Property to the Trustee’s designated custodian.

 23           7.     Authorizes the Trustee to expend funds to (a) rent a U-Haul (or similar) moving

 24 truck, (b) hire an agent and/or moving company (without the need of filing an employment or fee

 25 application) to facilitate the removal of any personal property at the Gladstone Property, (c) dispose

 26 of any personal property remaining in or on the Gladstone Property, and (d) change the locks and

 27 security codes to the Gladstone Property.

 28           8.     Authorizes the Trustee to remove any and all personal property remaining in or


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  1 on the Gladstone Property at any time beginning three (3) business days after entry of the

  2 Order approving this Motion.

  3           9.     Authorizes the Trustee, in the exercise of his discretion, either to discard or

  4 donate to a charity any and all personal property removed by the Trustee pursuant to the

  5 Order on the Motion and to incur and pay for the costs of such disposal, all without further

  6 order of the Court.

  7           10.    Upon completion of the procedures in paragraphs 7-9, above, deems the Trustee to

  8 have satisfied any obligation he may have under California law (or other applicable law) relating to

  9 the removal, disposal, and/or abandonment of personal property.

 10            NOTICE IS FURTHER GIVEN that the Motion is made pursuant to 11 U.S.C. §§ 105,

 11   521, 541, 542, and 704, Federal Rules of Bankruptcy Procedure 2002, 7070, and 9014, and Local

 12   Bankruptcy Rules 7064-1 and 9013-1 on the grounds that (i) the Debtors have failed to cooperate

 13   with the Trustee’s request that they vacate the Gladstone Property on a consensual basis and (ii)

 14   conditions on the Gladstone Property cause the Trustee and the Trustee’s real estate broker to

 15   believe that the Gladstone Property would be more marketable if it were completely vacant and

 16   cleaned up.

 17           NOTICE IS FURTHER GIVEN that the Motion is based upon (a) this Notice of Motion

 18 and Motion; (b) the attached Memorandum of Points and Authorities, Declarations of Peter J.

 19 Mastan, Pamela C. Temple, and Ashleigh A. Danker; (c) the attached Exhibits, (d) the pleadings on

 20 file with the Court of which the Court is requested to take judicial notice; and (e) such further

 21 evidence that may be properly submitted prior to or at the hearing on the Motion.

 22           NOTICE IS FURTHER GIVEN that, pursuant to Local Bankruptcy Rule 9013-1(f),

 23 any opposition to the Motion must be in writing; must be filed with the Court and served

 24 upon the Trustee and the Office of the United States Trustee at the addresses set forth below

 25 not later than 14 days before the hearing on the Motion; and must include a complete written

 26 statement of all reasons in opposition thereto or in support or joinder thereof, declarations

 27 and copies of all photographs and documentary evidence on which the responding party

 28 intends to rely, and any responding memorandum of points and authorities:

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  1      For Filing with the Court:                      For Service on the U.S. Trustee:
         Clerk’s Office                                  Office of the U.S. Trustee
  2      United States Bankruptcy Court                  915 Wilshire Blvd., Suite 1850
         255 E. Temple Street                            Los Angeles, CA 90017
  3      Los Angeles, CA 90012

  4      For Service on the Trustee:
         Peter J. Mastan, Trustee
  5      c/o Ashleigh A. Danker, Esq.
         Dinsmore & Shohl LLP
  6      550 S. Hope Street, Suite 1765
         Los Angeles, CA 90071-2627
  7

  8           NOTICE IS FURTHER GIVEN that, pursuant to Local Bankruptcy Rule 9013-1(h),

  9 failure to timely file and serve an objection may be deemed by the Court to be consent to

 10 granting the relief requested in the Motion.

 11

 12 Dated: March 10, 2020                          DINSMORE & SHOHL LLP

 13
                                                   By:       /s/ Ashleigh A. Danker
 14                                                       Ashleigh A. Danker
                                                   Counsel to Peter J. Mastan,
 15                                                Chapter 7 Trustee

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2

 3                                             INTRODUCTION

 4           Peter J. Mastan, Chapter 7 trustee (the “Trustee”) of the bankruptcy estate (the “Estate”) of

 5 joint debtors Finnian Osakpamwan Ebuehi and Elizabeth Olohirere Ebuehi (collectively, the

 6 “Debtors” or the “Ebuehis”) in the above-captioned bankruptcy case (the “Case”) submits this

 7 Memorandum of Points and Authorities in support of his Motion For (1) Order To Compel

 8 Turnover Of Property Of The Bankruptcy Estate And Establishing Procedures For Removal And

 9 Disposal Of Any Remaining Personal Property, And (2) Writ Of Assistance; Memorandum Of

10 Points And Authorities; Declarations Of Peter J. Mastan, Pamela C. Temple, And Ashleigh A.

11 Danker In Support Thereof; And Exhibits (the “Motion”).

12           The relief sought by the Motion is detailed in the preceding Notice of Motion. Among other

13 things, the Trustee seeks an Order (i) compelling the Debtors and all other persons, if any, claiming

14 rights of possession through the Debtors (collectively, the “Occupants”) with respect to the

15 residence located at 619 W. Gladstone Street, Glendora, California 91740 (the “Gladstone

16 Property”) to vacate and turn over possession of the Gladstone Property to the Trustee no later than

17 two (2) business days after the entry of the Order approving this Motion and (ii) establishing

18 procedures for the Trustee to remove and dispose of any personal property remaining in or on the

19 Gladstone Property commencing three (3) business days after the entry of the Order approving this

20 Motion.

21           The Trustee seeks the requested relief on the grounds that his real estate brokers have been

22 marketing the Gladstone Property since the beginning of January 2020 without success. The

23 Trustee and his brokers believe that certain conditions on the property make it unattractive to

24 potential buyers and that it would be more marketable if completely vacant and cleaned up. On

25 February 26, 2020, the Trustee sent the Debtors a written request to vacate the Gladstone Property

26 on or before April 15, 2020. See Exhibit 2 hereto. They declined. See Exhibit 3 hereto. The

27 Trustee sought to speak with the Debtors about their timing to vacate at the continued meeting of

28 creditors held on March 4, 2020, but only their attorney appeared. Given the conditions on the

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  1 Gladstone Property and the Debtors’ failure to cooperate, good cause exists to order the Occupants

  2 to turn over possession of the Gladstone Property and allow the Trustee to dispose of any personal

  3 property remaining after they vacate.

  4

  5                                               JURISDICTION

  6            The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

  7 1334. This Motion is a core proceeding within the meaning of 28 U.S.C. § 57(b)(2). Venue is

  8 proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested herein

  9 are §§ 105, 521, 541, 542, and 704 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

 10 (the “Bankruptcy Code”), Rules 2002, 7070 and 9014 of the Federal Rules of Bankruptcy

 11 Procedure (the “Bankruptcy Rules”), and Local Bankruptcy Rules 7064-1 and 9013. 1

 12

 13                                          STATEMENT OF FACTS

 14   A.        The Debtors’ Bankruptcy Filing and Trustee’s Appointment

 15            On September 12, 2018 (the “Petition Date”), the Debtors filed a joint voluntary petition for

 16 relief under Chapter 11 of Bankruptcy Code, commencing the Case. On September 25, 2019, the

 17 Court issued an Order Granting Order to Show Cause Why This Court Should Not Convert or

 18 Dismiss Case, or Appoint a Chapter 11 Trustee (ECF No. 140, the “OSC”). The Court entered its

 19 Order Converting Case to Chapter 7 (ECF No. 161, the “Conversion Order”) on October 18, 2019.

 20 Peter J. Mastan was appointed as the Chapter 7 Trustee for the Debtors’ Estate on October 23, 2019

 21 (ECF No. 167). Pursuant to Orders entered on November 7, 2019 (ECF No. 170), November 27,

 22 2019 (ECF No. 178), and January 29, 2020 (ECF No. 234), the Court denied three motions for

 23 reconsideration of the Conversion Order.

 24   B.        The Trustee’s Efforts to Sell the Gladstone Property

 25            Property of the Estate includes five real properties: (i) the Debtors’ personal residence

 26 located at 619 W. Gladstone Street, Glendora, CA 91740 (the “Gladstone Property”), (ii) the rental

 27

 28   1
          Unless specified otherwise, all statutory references herein are to the Bankruptcy Code.
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  1 property located at 1518 Waters Avenue, Pomona, CA 91766 (the “Waters Property”), (iii) the

  2 rental property located at 1580 W. 2nd Street, Pomona, CA 91766 (the “2nd Street Property”),

  3 (iv) the rental property located at 2551 Yorkshire Way, Pomona, CA 91767 (the “Yorkshire

  4 Property”), and (v) a vacant lot located in San Bernardino (the “Vacant Lot”). See Schedules A/B

  5 and D of Voluntary Petition (ECF No. 1). The Yorkshire Property, 2 nd Street Property, and Waters

  6 Property are referred to, collectively, herein as the “Rental Properties.” The Rental Properties,

  7 together with the Gladstone Property and the Vacant Lot, are referred to herein, collectively, as the

  8 “Properties.”

  9           On January 6, 2020, the Trustee filed an Application requesting authority to employ

 10 Coldwell Banker and Bennion Deville Homes (ECF No. 219) as co-real estate brokers (the

 11 “Brokers”) to list, market, and assist the Trustee in selling the Gladstone Property and the Rental

 12 Properties. Pursuant to an Order entered on January 30, 2020 (ECF No. 236), the Court granted the

 13 Application.

 14           Set for hearing concurrently herewith are the Trustee’s motions for authority to sell the

 15 Waters and Yorkshire Properties (ECF Nos 253 and 256). As described in detail in those motions,

 16 each of the Properties, except the Vacant Land, is encumbered by a consensual, senior lien, which

 17 does not appear to be cross-collateralized, and a junior judgment lien (the “Poser Lien”) held by

 18 Poser Investments, Inc. (“Poser”), which is cross-collateralized against all of the improved

 19 Properties, and which the Trustee has requested Poser to cap at $881,611.99. In light of the

 20 estimated values of each of the Properties and the cross-collateralization of the Poser Lien, to

 21 realize equity for the Estate, it is necessary for the Trustee to sell all of the improved Properties.

 22           The Brokers listed the improved Properties on the Multiple Listing Service (“MLS”) in

 23 early January 2020. Those listings were syndicated to hundreds of real estate related websites

 24 including Realtor.com, Zillow, Redfin, CaliforniaMoves.com, Google, Yahoo, BDHomes.com,

 25 ColdwellBanker.com, and others. The listings received thousands of views on the internet and were

 26 advertised in At Home Magazine, BD Monthly, Homes & Land, and LA Times Weekly. As a

 27 result, the Trustee has received offers for all of the improved Properties. See Declaration of Pamela

 28 C. Temple (“Temple Decl.”), attached hereto, ¶ 3. The Trustee is in escrow on the Waters and

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  1 Yorkshire Properties and, subject to Court approval on March 31, 2020, expects to close escrow on

  2 those properties in April 2020.

  3           The Gladstone Property is listed for $779,000.00. Despite an open house held on

  4 February 15, 2020 and several telephonic inquiries to his Broker, Pamela Temple, the Trustee has

  5 received only a single offer (for $590,000.00 that too low to counter) and has had only one request

  6 for a private showing of the Gladstone Property. As to the latter, on Saturday, March 8, 2020 at

  7 approximately 2:00 p.m., Ms. Temple was contacted by a broker requesting to show the Gladstone

  8 Property that evening from 6:45 p.m. to 7:45 p.m. She called and texted Mr. Ebuehi to request

  9 permission. He did not respond until approximately 6:00 p.m. By that time, unfortunately, the

 10 prospective buyers had taken the property off their list. Although Ms. Temple is attempting to re-

 11 schedule the showing, because of the security system, she cannot show the Gladstone Property

 12 without either Mr. Ebuehi’s cooperation or at least 24 hours’ advance notice. When she tries to

 13 contact him, he typically does not answer his telephone and his voice mail is full. Also, he does not

 14 respond quickly to text messages. Temple Decl., ¶ 4.

 15           In addition to the foregoing issues with access, Ms. Temple has expressed concern to the

 16 Trustee that the appearance of the Gladstone Property, both inside and outside, significantly

 17 detracts from its marketability. The Trustee has personally viewed the property and shares her

 18 concerns. The house is located on a nearly half-acre lot. The large yard is being used for storage

 19 and contains several large, unsightly piles of personal items (including one covered by a large tarp),

 20 multiple large barrel-type containers, multiple cars, and a van. The garage is filled, nearly to the

 21 ceiling with personal items—no cars can fit in it. Inside the house, there are many large, unsightly

 22 piles of personal items covered by plastic tarps and several rooms, including the kitchen, are

 23 cluttered and unsightly. Photographs taken by the Trustee of the yard (pp. 22-25), the garage

 24 (pp. 26-27), kitchen (pp. 28-29), main living area (pp. 30-31), bedroom 1 (pp. 32-35), and bedroom

 25 2 (pp. 36-38), on March 3, 2020 are attached hereto as Exhibit 1. The Debtors, who do not want

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  1 the property to be sold, create a hostile atmosphere inside.2 See Temple Decl., ¶ 5; declaration of

  2 Peter J. Mastan (“Mastan Decl.”), attached hereto, ¶ 5.

  3           Because of the access issues and conditions in and on the Gladstone Property, the Trustee

  4 and Ms. Temple believe that it would show much better if it were vacant and cleaned up. Temple

  5 Decl, ¶ 6; Mastan Decl., ¶ 6.

  6           The access and appearance issues are particularly problematic because the Gladstone

  7 Property is estimated to have the most equity of all the Properties. The property is listed for

  8 $779,000.00 and Wells Fargo Bank, the senior lender, has filed a proof of claim, Claim No. 7,

  9 asserting a loan balance of $36,565.01. Even after payment of the Debtors’ $100,000.00 homestead

 10 exemption (Schedule C, ECF No. 1), sale of the Gladstone Property at or near the listed price is

 11 crucial to paying the balance owed to Poser and creating equity for the Estate.

 12   C.       The Debtors Have Refused to Cooperate with the Trustee to Consensually Vacate the

 13            Gladstone Property

 14           Mr. Ebuehi failed to appear at the initial Section 341(a) meeting of creditors the Trustee

 15 held on December 4, 2019 and it was clear that Mrs. Ebuehi knew little about their financial affairs.

 16 Accordingly, the Trustee re-scheduled the meeting to December 12, 2019. No later than this second

 17 meeting, which both of the Ebuehis attended, the Trustee told them that all the Properties would be

 18 sold, including the Gladstone Property. At the third Section 341(a) meeting held on January 28,

 19 2020, the Trustee reminded the Ebuehis that the Gladstone Property was for sale and that they

 20 should be making preparations for living elsewhere. At this same meeting, Mr. Ebuehi admitted to

 21 keeping a “journal” or “book,” which he had not provided to the Trustee, in which he recorded

 22 various cash receipts that he received from time to time in connection with the Rental Properties.

 23 Mastan Decl., ¶ 2.

 24           On February 26, 2020, the Trustee’s counsel, Ashleigh Danker, gave written notice to the

 25 Debtors’ attorney, Edwin Aimufua, for them to vacate the Gladstone Property on or before

 26

 27   2
       As described in the Waters and Yorkshire sale motions (ECF Nos. 253 and 256), prior to the filing
 28   of their petition, the Debtors fraudulently conveyed and encumbered the Properties, including the
      Gladstone Property, to impede Poser’s efforts to execute on them.
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  1 April 15, 2020. See Exhibit 2. Mr. Aimufua responded that the Debtors could not afford to move

  2 unless the Trustee advanced them their homestead exemption. A copy of his email response

  3 received on March 2, 2020 is attached hereto as Exhibit 3. This response appeared disingenuous

  4 given that (i) Mr. Ebuehi is employed, (ii) the Debtors have been living in the Gladstone Property

  5 since at least the conversion date (October 18, 2019) without paying the mortgage, rent to the

  6 Trustee, or property insurance, and (iii) the Debtors have failed to account for their cash receipts

  7 from the Rental Properties. Mastan Decl., ¶ 3.

  8           After the January 28, 2020 Section 341(a), the next Section 341(a) meeting was scheduled

  9 for March 4, 2020. At this meeting, the Trustee anticipated discussing possible accommodations

 10 for the Debtors to consensually vacate the Gladstone Property. Unfortunately, while the Debtors’

 11 attorney, Mr. Aimufua, appeared, neither of the Debtors appeared. When Mr. Mastan inquired

 12 where they were—among other things they were supposed to produce the cash receipts “journal” or

 13 “book,” complete copies of the bank statements and leases (of which they had provided only every

 14 other page), and information needed by the Trustee’s accountant to prepare the Estate tax returns--

 15 Mr. Aimufua claimed to have received a call from Mr. Ebuehi earlier that day telling him that the

 16 Debtors were both ill and unable to attend the meeting. This was surprising news to Mr. Mastan

 17 since he had seen both of the Debtors the day before (March 3, 2020) when he visited the

 18 Gladstone Property (taking the photographs attached as Exhibit 1) and neither appeared to be ill.

 19 Mastan Decl., ¶ 4.

 20           At this point, it appears that the Debtors are in denial that the Gladstone Property is going to

 21 be sold, that they will not voluntarily vacate it, and that unless the property is turned over to the

 22 Trustee so that it can be cleaned it up, it will continue to be very difficult to market.

 23

 24                                                 ARGUMENT

 25   A.       Turnover of Estate Assets

 26           Property of the estate includes “all legal or equitable interests of the debtor in property as of

 27 the commencement of the case.” 11 U.S.C. § 541(a)(1). As conceded by the Debtors in Schedule

 28 A (ECF No. 1), the Gladstone Property is an asset of the Estate.

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  1           Section 542 requires a debtor to turn over property of the estate to the trustee, including

  2 property in which an exemption is claimed:

  3                   [A]n entity…in possession, custody, or control, during the case, of
                      property that the trustee may use, sell, or lease under section 363 of
  4                   this title, or that the debtor may exempt under section 522 of this title,
                      shall deliver to the trustee, and account for, such property or the value
  5                   of such property, unless such property is of inconsequential value or
                      benefit to the estate.
  6

  7 11 U.S.C. § 542. See also, Mwangi v. Wells Fargo Bank, N.A. (In re Mwangi), 432 B.R. 818, 822

  8 (9th Cir. BAP 2010) (estate property must be turned over to the trustee; “the failure to return

  9 property of the estate with knowledge of the bankruptcy is a violation of both the automatic stay

 10 and of the turnover requirements of the Bankruptcy Code,” quoting Abrams v. Sw. Leasing &

 11 Rental, Inc. (In re Abrams), 127 B.R. 239, 242-43 (9th Cir. BAP 1991)).

 12           A debtor has a duty to cooperate with the trustee “as necessary to enable the trustee to

 13 perform the trustee’s duties.” 11 U.S.C. § 521(a)(3). A trustee has a duty to collect and reduce to

 14 money all property of the estate. 11 U.S.C. § 704(a)(1). Because of the condition of the Gladstone

 15 Property and the Debtors’ ongoing refusal to cooperate with the Trustee, including to voluntarily

 16 turn over the Gladstone Property, good cause exists to order the property immediately turned over

 17 to the Trustee.

 18

 19   B.       Procedures for Enforcement of Turnover Order and Removal of Debtors’ Personal

 20            Property

 21           Given the unsightly appearance of the Gladstone Property which is impeding the Trustee’s

 22 marketing efforts, the fact that the Debtors have had verbal notice of the need to vacate since at

 23 least December 12, 2019 and written notice since February 26, 2020, and the Debtors’ ongoing

 24 failure to cooperate with the Trustee, the Trustee requests that the Court order the Debtors and

 25 anyone claiming possession through them to deliver possession of the Gladstone Property to the

 26 Trustee (by personally vacating the Gladstone Property, removing all of their personal property

 27 from the Gladstone Property, leaving the Gladstone Property in broom-clean condition, and

 28 delivering to the Trustee the keys to the Gladstone Property, security codes for all security systems,

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  1 and any garage door or driveway gate remote controls that may exist) within two (2) business days

  2 after the entry of the Order on this Motion. Personal property remaining in or on the Gladstone

  3 Property after two (2) business days after entry of the Order on the Motion, shall be deemed

  4 abandoned by the Occupants. The Trustee further requests that the Court provide procedures for

  5 the Trustee to enforce the Order should the Debtors fail to timely vacate the Gladstone Property and

  6 for him to remove all personal property.

  7           Bankruptcy courts have the power to authorize the issuance of a writ of assistance

  8 authorizing and directing the United States Marshal to compel surrender of real property. Rule 70

  9 of the Federal Rules of Civil Procedure (“FRCP”), incorporated into Federal Rule of Bankruptcy

 10 Procedure (“FRBP”) 7070 provides:

 11                   (a) Party’s Failure to Act; Ordering Another to Act. If a judgment
                      requires a party to convey land, to deliver a deed or other document,
 12                   or to perform any other specific act and the party fails to comply
                      within the time specified, the court may order the act to be done—at
 13                   the disobedient party’s expense—by another person appointed by the
                      court.
 14                   …
                      (d) Obtaining a Writ of Execution or Assistance. On application by a
 15                   party who obtains a judgment or order for possession, the clerk must
                      issue a writ of execution or assistance.
 16

 17 FRCP 70; see In re Kerlo, 311 B.R. 256, 261 (Bankr. C.D. Cal.2004).

 18           FRBP 7070 provides that FRCP 70 applies in adversary proceedings. FRBP 9014(c)

 19 provides that certain rules applicable to adversary proceedings also apply to contested matters.

 20 Although FRBP 7070 is not automatically applicable in contested matters, FRBP 9014(a)

 21 specifically authorizes a court “at any stage in a particular matter [to] direct that one or more of the

 22 other rules in Part VII shall apply.”

 23           Bankruptcy courts routinely apply FRBP 7070 to contested matters involving turnover of

 24 real property from a debtor to a Chapter 7 trustee. See In re Kerlo, 311 B.R. at 261 (“‘a writ of

 25 assistance to deliver … possession [of real property] … was agreeable to the usages and principles

 26 of law’ and ‘clearly lies under the express terms of Fed. R. Civ. P. 70.’” Id. at 262 citing Hamilton

 27 v. McDonald, 503 F.2d 1138, 1143, n. 5 (9th Cir. 1974).

 28 ///

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  1           Section 105 also authorizes the Court to grant a trustee’s request for issuance of a writ of

  2 assistance. The Court may issue any order that is necessary and appropriate carry out the

  3 provisions of the Bankruptcy Code. 11 U.S.C. § 105(a). Orders for possession of property may be

  4 enforced through writs and orders under Section 105(a). Id., citing Stone v. White (In re Stone),

  5 1998 Bankr. LEXIS 1976, at *13-14 (Bankr. D.C. Nov. 1998) (addressing writs of possession

  6 issued to enforce turnover orders); Toledano v. Kittay (In re Toledano), 299 B.R. 284, 299 (Bankr.

  7 S.D.N.Y. 2003) (holding that the trustee may direct the United States Marshals Service to effectuate

  8 the terms of the court’s order by evicting all occupants from the premises where the debtor or any

  9 other individuals occupying property of the estate did not voluntarily vacate in accordance with the

 10 order).

 11           Given the unsightly conditions at the Gladstone Property and the Debtors’ prior failures to

 12 cooperate, good cause exists for the Court to provide the Trustee with the means to enforce the

 13 Court’s turnover order by ordering FRBP 7070 to be applicable to the Motion and all efforts to

 14 enforce the resulting turnover order. Pursuant to the requirements of the United States Marshals

 15 Service, the Order should specifically provide that the use of force is authorized to effectuate

 16 turnover should the Debtors or any other occupants of the Gladstone Property refuse to vacate or

 17 cooperate with the Marshal. Upon entry of such Order, the clerk of the court may “issue a writ of

 18 execution or assistance” to allow the Trustee to enforce the Order.

 19           Pursuant to Local Bankruptcy Rule 7064-1, to execute the writ of assistance, evict all

 20 occupants, and effectuate turnover of the Gladstone Property, the United States Marshals Service

 21 requires a court order containing the following language:

 22                           Upon execution and entry of this Writ or Order, the United
                      States Marshals Service (the “U.S. Marshal”) is immediately directed
 23                   to assist the Trustee to enforce the underlying Order awarding
                      possession.
 24
                              The Trustee and/or his authorized agents will act as substitute
 25                   custodian of any and all items of personal property seized pursuant to
                      this Order and the U.S. Marshal shall have no liability arising from any
 26                   acts, incidents, or occurrences in connection with the seizure of the
                      personal property located at the subject real property arising in the
 27                   ordinary authorized scope of duties of the U.S. Marshal (which acts do
                      not include acts arising from negligent or intentional tortious conduct),
 28                   including any third party claims and the U.S. Marshal shall be

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  1                   discharged of his or her duties and responsibilities for safekeeping of
                      the seized goods.
  2
                              The U.S. Marshal accomplishing such seizure shall use
  3                   whatever reasonable force necessary to break open and enter the
                      subject real property regardless of whether the premises or location is
  4                   locked or unlocked, occupied or unoccupied and to inspect the
                      contents of any room, closet, cabinet, vehicle, container, desk or
  5                   documents.

  6                           Anyone interfering with the execution of this Order is subject
                      to arrest by law enforcement officials.
  7

  8 Because of this requirement, the Trustee will not be able to enforce the turnover order without such

  9 provisions being included. A copy of the proposed turnover order and writ of assistance is attached

 10 hereto as Exhibit 4.

 11           Finally, if the Trustee obtains possession of the Gladstone Property with any personal

 12 property remaining on the premises, the Trustee requests that the Order granting this Motion

 13 provide that all personal property remaining in or on the Gladstone Property after two (2) business

 14 days after entry of the Order on the Motion be deemed abandoned and to subject to the Trustee’s

 15 removal and disposition of such personal property on and after three (3) business days after the

 16 entry of the Order approving this Motion as follows:

 17            1.     The Trustee is authorized to expend funds to (a) rent a U-Haul (or similar) moving

 18   truck, (b) hire an agent and/or moving company (without the need of filing an employment or fee

 19   application) to facilitate the removal of any personal property at the Gladstone Property, (c)

 20   dispose of any personal property remaining in or on the Gladstone, and (d) change the locks and

 21   security codes to the Gladstone Property.

 22           2.      The Trustee is authorized to remove any and all personal property remaining in

 23 or on the Gladstone Property at any time beginning three (3) business days after entry of the

 24 Order approving this Motion.

 25           3.      The Trustee is authorized, in the exercise of his discretion, either to discard or

 26 donate to a charity any and all personal property removed by the Trustee pursuant to the

 27 Order on the Motion and to incur and pay for the costs of such disposal, all without further

 28 order of the Court.

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  1           4.      Upon completion of the proposed procedures in paragraphs 1-3, above, the Trustee

  2 shall be deemed to have satisfied any obligation he may have under California law (or other

  3 applicable law) relating to the removal, disposal, and/or abandonment of personal property.

  4

  5                                              CONCLUSION

  6           Wherefore, based on the foregoing, the Trustee respectfully requests the Court to enter an

  7 Order in substantially the form attached hereto as Exhibit 4 finding and directing that:

  8           1.      The Motion is granted.

  9           2.      Finds FRBP 7070 to be applicable to the Motion and all efforts to enforce the Order

 10 on the Motion.

 11           3.      The Occupants shall deliver possession of the Gladstone Property to the Trustee (by

 12 personally vacating the Gladstone Property, removing all of their personal property from the

 13 Gladstone Property, leaving the Gladstone Property in broom-clean condition, and delivering to the

 14 Trustee the keys to the Gladstone Property, security codes for all security systems, and any garage

 15 door and/or driveway gate remote controls that may exist) within two (2) business days after the

 16 entry of the Order on this Motion.

 17           4.      Any personal property remaining in or on the Gladstone Property after two (2)

 18 business days after entry of the Order on this Motion is deemed to have been abandoned by the

 19 Occupants.

 20           5.      The Order approving the Motion constitutes a writ of possession and writ of

 21 assistance for the Gladstone Property, and, in accordance with Local Bankruptcy Rule 7064-1,

 22 includes the following language:

 23                           Upon execution and entry of this Writ or Order, the United
                      States Marshals Service (the “U.S. Marshal”) is immediately directed
 24                   to assist the Trustee to enforce the underlying Order awarding
                      possession.
 25
                              The Trustee and/or his authorized agents will act as substitute
 26                   custodian of any and all items of personal property seized pursuant to
                      this Order and the U.S. Marshal shall have no liability arising from any
 27                   acts, incidents, or occurrences in connection with the seizure of the
                      personal property located at the subject real property arising in the
 28                   ordinary authorized scope of duties of the U.S. Marshal (which acts do
                      not include acts arising from negligent or intentional tortious conduct),
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  1                  including any third party claims and the U.S. Marshal shall be
                     discharged of his or her duties and responsibilities for safekeeping of
  2                  the seized goods.

  3                          The U.S. Marshal accomplishing such seizure shall use
                     whatever reasonable force necessary to break open and enter the
  4                  subject real property regardless of whether the premises or location is
                     locked or unlocked, occupied or unoccupied and to inspect the
  5                  contents of any room, closet, cabinet, vehicle, container, desk or
                     documents.
  6
                             Anyone interfering with the execution of this Order is subject
  7                  to arrest by law enforcement officials.

  8           6.     If the Occupants fail to timely vacate the Gladstone Property, the Trustee is

  9 authorized to instruct the U.S. Marshal Service to execute the Writ or Order by (a) evicting and

 10 locking out all Occupants of the Gladstone Property, (b) using all necessary force to effectuate the

 11 eviction; and (c) surrendering possession of the Gladstone Property to the Trustee’s designated

 12 custodian.

 13           7.     The Trustee is authorized to expend funds to (a) rent a U-Haul (or similar) moving

 14 truck, (b) hire an agent and/or moving company (without the need of filing an employment or fee

 15 application) to facilitate the removal of any personal property at the Gladstone Property, (c) dispose

 16 of any personal property remaining in or on the Gladstone Property, and (d) change the locks and

 17 security codes to the Gladstone Property.

 18           8.     The Trustee is authorized to remove any and all personal property remaining in

 19 or on the Gladstone Property at any time beginning three (3) business days after entry of the

 20 Order approving this Motion.

 21           9.     The Trustee, in the exercise of his discretion, is authorized either to discard or

 22 donate to a charity any and all personal property removed by the Trustee pursuant to the

 23 Order on the Motion and to incur and pay for the costs of such disposal, all without further

 24 order of the Court.

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  1           10.   Upon completion of the procedures in paragraphs 7-9, above, deems the Trustee to

  2 have satisfied any obligation he may have under California law (or other applicable law) relating to

  3 the removal, disposal, and/or abandonment of personal property.

  4           11.   Such other and further relief as is just and proper under the circumstances is

  5 granted.

  6

  7   Dated: March 10, 2020                    DINSMORE & SHOHL LLP

  8
                                               By: /s/ Ashleigh A. Danker
  9                                                    Ashleigh A. Danker
                                               Counsel to the Chapter 7 Trustee, Peter J. Mastan
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  1                               DECLARATION OF PETER J. MASTAN

  2           I, Peter J. Mastan, declare as follows:

  3           1.      I am the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”)

  4 of debtors Finnian Osakpamwan Ebuehi and Elizabeth Olohirere Ebuehi (the “Debtors” or the

  5 “Ebuehis”) in the above-captioned bankruptcy case (the “Case”). Except as expressly stated

  6 otherwise, I have personal knowledge of the facts set forth below and could and would competently

  7 testify under oath thereto if requested to do so. Capitalized terms not otherwise defined herein have

  8 the same meanings ascribed to them in the pleading to which this Declaration is attached.

  9           2.      Mr. Ebuehi failed to appear at the initial Section 341(a) meeting of creditors I held

 10 on December 4, 2019 and it was clear to me that Mrs. Ebuehi knew little about their financial

 11 affairs. Accordingly, I re-scheduled the meeting to December 12, 2019. No later than this second

 12 meeting, which both of the Ebuehis attended, I told them that all the Properties would be sold,

 13 including the Gladstone Property. At the third Section 341(a) meeting held on January 28, 2020, I

 14 reminded the Ebuehis that the Gladstone Property was for sale and that they should be making

 15 preparations for living elsewhere. At this same meeting, Mr. Ebuehi admitted to keeping a

 16 “journal” or “book,” which he had not (and, as of the date hereof, still has not) provided to me, in

 17 which he recorded various cash receipts that he received from time to time in connection with the

 18 Rental Properties.

 19           3.      On February 26, 2020, my counsel, Ashleigh Danker, gave written notice to the

 20 Debtors’ attorney, Edwin Aimufua, for them to vacate the Gladstone Property on or before

 21 April 15, 2020. Mr. Aimufua responded that the Debtors could not afford to move unless the

 22 Trustee advanced them their homestead exemption. This response appeared disingenuous to me

 23 given that (i) Mr. Ebuehi has testified to me that he is employed, (ii) the Debtors have been living in

 24 the Gladstone Property since at least the conversion date (October 18, 2019) without paying the

 25 mortgage, rent to me, or property insurance, and (iii) the Debtors have failed to account for their

 26 cash receipts from the Rental Properties.

 27 ///

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  1           4.     After the January 28, 2020 Section 341(a), the next Section 341(a) meeting was

  2 scheduled for March 4, 2020. At this meeting, I anticipated discussing possible accommodations

  3 for the Debtors to consensually vacate the Gladstone Property. Unfortunately, while the Debtors’

  4 attorney, Mr. Aimufua, appeared, neither of the Debtors appeared. When I inquired where they

  5 were—among other things they were supposed to produce the cash receipts “journal” or “book,”

  6 complete copies of the bank statements and leases (of which they had provided only every other

  7 page), and information needed by my accountant to prepare the Estate tax returns--Mr. Aimufua

  8 claimed to have received a call from Mr. Ebuehi earlier that day telling him that the Debtors were

  9 both ill and unable to attend the meeting. This was surprising news to me since I had seen both of

 10 the Debtors the day before (March 3, 2020) when I visited the Gladstone Property (taking the

 11 photographs attached hereto as Exhibit 1) and neither appeared to be ill.

 12           5.     Ms. Temple, one of my Brokers (and the one responsible for handling showings of

 13 the Properties) has expressed concern to me that the appearance of the Gladstone Property, both

 14 inside and outside, significantly detracts from its marketability. I have personally viewed the

 15 property and share her concerns. The house is located on a nearly half-acre lot. The large yard is

 16 being used for storage and contains several large, unsightly piles of personal items (including one

 17 covered by a large tarp), multiple large barrel-type containers, multiple cars, and a van. The garage

 18 is filled, nearly to the ceiling with personal items—no cars can fit in it. Inside the house, there are

 19 many large, unsightly piles of personal items covered by plastic tarps and several rooms, including

 20 the kitchen, are cluttered and unsightly. Attached hereto as Exhibit 1 are true and correct copies of

 21 photographs I took on March 3, 2020 showing the yard (pp. 22-25), the garage (pp. 26-27), kitchen

 22 (pp. 28-29), main living area (pp. 30-31), bedroom 1 (pp. 32-35), and bedroom 2 (pp. 36-38). The

 23 Debtors, who have fought Poser’s efforts to execute on the Properties and have sought, repeatedly

 24 to re-convert the case to Chapter 11, create a hostile atmosphere inside. 3

 25   ///

 26

 27   3
       As described in the Waters and Yorkshire sale motions (ECF Nos. 253 and 256), prior to the filing
 28   of their petition, the Debtors fraudulently conveyed and encumbered the Properties, including the
      Gladstone Property, to impede Poser’s efforts to execute on them.
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             6.      Because of the access issues and conditions in and on the Gladstone Property, I

     believe that it would show much better if it were vacant and cleaned up.

             I declare under penalty of perjury under the laws of the United States of America that the

     foregoing is true and correct.



     Dated: March 1t7, 2020
                                                                 Peter J. Mastan




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  1                             DECLARATION OF PAMELA C. TEMPLE

  2           I, Pamela C. Temple, declare as follows:

  3           1.      I am a real estate sales agent with Bennion Deville Homes, one of the Bankruptcy

  4 Court-approved co-real estate brokers for Peter J. Mastan, the Chapter 7 Trustee (the “Trustee”) for

  5 the bankruptcy estate (the “Estate”) of joint debtors Finnian Osakpamwan Ebuehi and Elizabeth

  6 Olohirere Ebuehi (the “Debtors” or the “Ebuehis”) in the above-captioned bankruptcy case (the

  7 “Case”). As such, except as expressly stated otherwise, I have personal knowledge of the facts set

  8 forth below and could and would competently testify under oath thereto if requested to do so.

  9 Capitalized terms not otherwise defined herein have the same meanings ascribed to them in the

 10 pleading to which this Declaration is attached.

 11           2.      On or about January 2, 2020, I began to assist the Trustee in marketing and selling

 12 the real property commonly known as 619 W. Gladstone Street, Glendora, California 91740 (the

 13 “Gladstone Property”), including handling telephone inquiries and showings.

 14           3.      Along with my co-broker, William I. Friedman of Coldwell Banker, I listed the

 15 improved Properties on the Multiple Listing Service (“MLS”) in early January 2020. Those listings

 16 were syndicated to hundreds of real estate related websites including Realtor.com, Zillow, Redfin,

 17 CaliforniaMoves.com, Google, Yahoo, BDHomes.com, ColdwellBanker.com, and others. The

 18 listings received thousands of views on the internet and were advertised in At Home Magazine, BD

 19 Monthly, Homes & Land, and LA Times Weekly. As a result, the Trustee has received offers for

 20 all of the improved Properties.

 21           4.      The Gladstone Property is listed for $779,000.00. Despite an open house I held on

 22 February 15, 2020 and several telephonic inquiries to me, I have received only a single offer (for

 23 $590,000.00 which was deemed too low by the Trustee to counter) and have had only one request

 24 for a private showing of the Gladstone Property. As to the latter, on Saturday, March 8, 2020 at

 25 approximately 2:00 p.m., I was contacted by a broker requesting to show the Gladstone Property

 26 that evening from 6:45 p.m. to 7:45 p.m. I called and texted Mr. Ebuehi to request permission. He

 27 did not respond until approximately 6:00 p.m. By that time, unfortunately, the prospective buyers

 28 had taken the property off their list. Although I am attempting to re-schedule the showing, because

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          of the security sy stem. 1 cannot show the Gladstone Property without either Mr. Ebuchi's

          cooperation or at least 24 hours' advance notice. When I try to contact him. he typically does not

      3 answer his telephone and his voice mail is full. Also, he does not respond quickly to my text

      4 messages.

                          In addition to the foregoing issues with access. I have expressed concern to the

      6 Trustee that the appearance of the Gladstone Property. both inside and outside, significantly

      7 detracts from its marketability, The house is located on a nearly half-acre lot. The large yard is

      8 being used for storage and contains several large, unsightly piles of personal items (including one

          covered by a large tarp). multiple large barrel-type containers, multiple cars, and a van. The garage

     I ll is filled. nearly to the ceiling with personal items --no cars can lit in it. Inside the house, there are

     1 1 many large, unsightly piles ()I' personal items covered by plastic tarps and several rooms, including

     1 2 the kitchen. are cluttered and unsightly . The Debtors, who appear not to ‘,1 ant the property to he

     1 3 sold. create a hostile atmosphere inside.

     14          6.       Because of the access issues and conditions in and on the Gladstone Property, I

     1 5 believe that it would Nho\A much better it' it were vacant and cleaned up,

     16           I declare under penalty of perjury under the laws of the l lnited States of America that the

     1 7 foregoing is true and correct.

     18

     19 Dated: March 11) , 2021)
                                                               Pamela C. Temple
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  1                           DECLARATION OF ASHLEIGH A. DANKER

  2           I, Ashleigh A. Danker, declare:

  3           1.      I am an attorney admitted to practice before this Court and the courts of this State. I

  4 am Of Counsel in the law firm Dinsmore & Shohl LLP, counsel to Peter J. Mastan, Chapter 7

  5 Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of debtors Finnian Osakpamwan

  6 Ebuehi and Elizabeth Olohirere Ebuehi (the “Debtors” or the “Ebuehis”) in the above-captioned

  7 bankruptcy case (the “Case”). I am the attorney primarily responsible for representing the Trustee

  8 in this Case. As such, except as expressly stated otherwise, I have personal knowledge of the facts

  9 set forth below and could and would competently testify under oath thereto if requested to do so.

 10 Capitalized terms not otherwise defined herein have the same meanings ascribed to them in the

 11 pleading to which this Declaration is attached.

 12           2.      On September 12, 2018, the Debtors filed a joint voluntary petition for relief under

 13 Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

 14 Code”), commencing the Case. On September 25, 2019, the Court issued an Order Granting Order

 15 to Show Cause Why This Court Should Not Convert or Dismiss Case, or Appoint a Chapter 11

 16 Trustee (ECF No. 140, the “OSC”). The Court entered its Order Converting Case to Chapter 7

 17 (ECF No. 161, the “Conversion Order”) on October 18, 2019. Peter J. Mastan was appointed as the

 18 Chapter 7 Trustee for the Debtors’ Estate on October 23, 2019 (ECF No. 167). Pursuant to Orders

 19 entered on November 7, 2019 (ECF No. 170), November 27, 2019 (ECF No. 178), and January 29,

 20 2020 (ECF No. 234), the Court denied three motions for reconsideration of the Conversion Order.

 21           3.      Property of the Estate includes five real properties: (i) the Debtors’ personal

 22 residence located at 619 W. Gladstone Street, Glendora, CA 91740 (the “Gladstone Property”),

 23 (ii) the rental property located at 1518 Waters Avenue, Pomona, CA 91766 (the “Waters

 24 Property”), (iii) the rental property located at 1580 W. 2nd Street, Pomona, CA 91766 (the “2nd

 25 Street Property”), (iv) the rental property located at 2551 Yorkshire Way, Pomona, CA 91767 (the

 26 “Waters Property”), and (v) a vacant lot located in San Bernardino (the “Vacant Lot”). See

 27 Schedules A/B and D of Voluntary Petition (ECF No. 1). The Yorkshire Property, 2 nd Street

 28 Property, and Waters Property are referred to, collectively, herein as the “Rental Properties.” The

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  1 Rental Properties, together with the Gladstone Property and the Vacant Lot, are referred to herein,

  2 collectively, as the “Properties.”

  3           4.     On January 6, 2020, the Trustee filed an Application requesting authority to employ

  4 Coldwell Banker and Bennion Deville Homes (ECF No. 219) as co-real estate brokers (the

  5 “Brokers”) to list, market, and assist the Trustee in selling the Gladstone Property and the Rental

  6 Properties. Pursuant to an Order entered on January 30, 2020 (ECF No. 236), the Court granted the

  7 Application.

  8           5.     Attached hereto as Exhibit 2 is a true and correct copy of a letter I sent to Edwin

  9 Aimufua, counsel for the Debtors, on February 26, 2020, demanding that they vacate the Gladstone

 10 Property on or before April 15, 2020. Attached hereto as Exhibit 3 is a true and correct copy of an

 11 email dated March 2, 2020 from Mr. Aimufua to me responding to my letter.

 12           6.     At the continued Section 341(a) meeting of creditors, which I attended, Mr. Ebuehi

 13 testified that he had a “book” or “journal” in which he recorded his cash receipts from the Rental

 14 Properties. The Trustee requested the Debtors to provide him with the original of such book or

 15 journal. In addition, I requested the Debtors to provide me with complete copies of the December

 16 2019 bank statements for the accounts related to the Rental Properties and complete copies of the

 17 leases for the Rental Properties (the Debtors had provided only every other page of these

 18 documents), copies of certain insurance policies, and the check(s) from the Pomona Housing

 19 Authority for the two Section 8 tenants in the Yorkshire Property for November and December

 20 2019.

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  1           7.      By an email dated February 3, 2020 to Mr. Aimufua, I requested the Debtors to

  2 provide certain tax information needed by the Trustee’s accountant to prepare the Estate tax returns,

  3 and on February 5, 2020, I also requested Mr. Aimufua by email to provide the long over-due

  4 schedule of unpaid debts and final report and accounting (due 14 days and 30 days, respectively,

  5 after entry of the Conversion Order). As of the date hereof, none of these documents, reports, or

  6 information described in the preceding two paragraphs have been provided to me.

  7           I declare under penalty of perjury under the laws of the United States of America that the

  8 foregoing is true and correct.

  9

 10 Dated: March 10, 2020                                      /s/ Ashleigh A. Danker
                                                                  Ashleigh A. Danker
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                                                                  EXHIBIT 1
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                                                                Exhibit 1, p. 022
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                                                                Exhibit 1, p. 024
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                                                                Exhibit 1, p. 025
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                                                                Exhibit 1, p. 026
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                                                                Exhibit 1, p. 030
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                                                                Exhibit 1, p. 031
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                                                                Exhibit 1, p. 032
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                                                                Exhibit 1, p. 033
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                                                                Exhibit 1, p. 034
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                                                                Exhibit 1, p. 035
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                                                                Exhibit 1, p. 036
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                                                                Exhibit 1, p. 037
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                                                                Exhibit 1, p. 038
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                                                                  EXHIBIT 2
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                                                                        Legal Counsel.
                                                                        DINSMORE & SHOHL LIP
                                                                        550 Hope St., Suite 1765
                                                                        Los Angeles, CA 90071
                                                                        www.dinsmore.com



Dinsmore                                                                 Ashleigh A. Danker
                                                                        (213) 335-7749 (direct) • (619)400-0501(fax)
                                                                         Ashleigh.Danker@Dinsmore.com




 February 26, 2020

 Via Email(eiaPai mufualaw.com and ial mufua@vahoo.com)
 Edwin I. Aimufua, Esq.
 11150 Sepulveda Blvd., Ste A
 Mission Hills, CA 91345

         Re:619 W. Gladstone Street,Glendora,CA 91740 - 45 Notice to
         Vacate Premises

  Dear Mr. Aimufua:

         As you are aware, my client, Peter J. Mastan, is the Chapter 7 bankruptcy trustee (the
 "Trustee"), in the bankruptcy case of your clients Finnian and Elizabeth Ebuehi, Case No. 2:18-bk-20704-
 NB, pending in the United States Bankruptcy Court for the Central District of California, Los Angeles
 Division.

         The real property located at 619 W. Gladstone Street, Glendora, CA 91740(the "Property") is
 property of the bankruptcy estate pursuant to Section 541 of the Bankruptcy Code. The Ebuehis have
 been occupying the Property rent-free and without paying for insurance on it since the case converted
 to Chapter 7 on October 18, 2019. Pursuant to Section 542(a) of the Bankruptcy Code, the Trustee
 hereby demands that the Ebuehis vacate the Property on or before April 15,2020 and, concurrently
 therewith, deliver possession of it in "broom-clean" condition to the Trustee by turning over the keys,
 security codes, and garage clickers, if any, to the Trustee's broker, Pam Temple.

         Please confirm in writing to me by 5:00p.m.on MondayLMarch 2,2020 that you have spoken
 with your clients about this matter and that they agree to vacate the Property by April 15,2020. If I do
 not receive written confirmation from you by 5:00 p.m. on Monday, March 2, 2020, confirming that the
 Ebuehis agree to vacate the Property as requested herein, the Trustee will commence action against the
 Ebuehis in Bankruptcy Court for authority to remove them on an expedited basis.

                                                         Yours truly,




                                                         Ashleigh A. Danker

 AAD:DA
 cc: Peter J. Mastan, Trustee (i/o)
     Pamela C. Temple (via email)




 16082527.1                                                                                   Exhibit 2, p. 039
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                                                                  EXHIBIT 3
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Danker, Ashleigh

From:                           edwin aimufua <iaimufua@yahoo.com>
Sent:                           Monday, March 2, 2020 4:40 PM
To:                             Finnian Ebuehi; Danker, Ashleigh
Subject:                        Re: Ebuehi - Gladstone - Notice to Vacate



Ms. Danker:
I discussed your letter and Notice to Vacate with my Clients, and regrettably, they are unable to vacate, before
the deadline you have set. My Clients do not have the financial resources to relocate to a different place,
without at least receiving some portion of their Homestead exemption. Is this at all feasible, from the
Trustee‘s and your perspective?
Moreover, the Ebuehi’s were unaware that they were required to pay any rent to the Chapter 7 Trustee, or that
they had fallen behind on any insurance payments. They rightfully believed that as per instructions received
from you and the Trustee, they were to hand over the administration of the estate to you and your Client, more
particularly, the payment of all bills concerning the properties, hence the turning over of all rents to you and
your Client. Therefore, at what stage did my Clients default on the payment of the insurance you allude to in
your Notice to Vacate? Furthermore, at what stage were they requested to pay ‘rent’ to the Estate, that they
refused to do? Please enlighten me, as to these events, which your Notice to Vacate, provides as the predicate
reasons, for your intention to evict them.
Since they cannot move out by April 15, 2020, as they do not have the resources to do so, can something,
anything be done, in a spirit of compromise, to keep them there, till they can receive some of their Homestead
exemption, for instance, paying some rent to your Client, to enable them to remain in the Gladstone property?
Please let me know, what accommodations you can grant them, other than the straight forward eviction you are
offering.
I look forward to hearing back from you promptly.

I remain,
Yours truly,
Edwin I. Aimufua




       On Feb 27, 2020, at 3:35 AM, Edwin I. Aimufua <iaimufua@yahoo.com> wrote:


       Finnian:

       Please see the attached letter from the Trustee's attorney. We will discuss it later today.



       Very truly yours,
       Edwin I. Aimufua, Esq.
       ATTORNEY AT LAW
       11150 Sepulveda Blvd., Suite A
       Mission Hills, CA 91345
       Office: (747) 246-4141

                                                         1
                                                                                       Exhibit 3, p. 040
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                                                                  EXHIBIT 4
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 1 Ashleigh A. Danker (State Bar No. 138419)
   ashleigh.danker@dinsmore.com
 2 DINSMORE & SHOHL LLP
   550 Hope St., Suite 1765
 3 Los Angeles, California 90071
   Telephone: 213-335-7737
 4
   Counsel to Peter J. Mastan
 5 Chapter 7 Trustee

 6

 7                            UNITED STATES BANKRUPTCY COURT

 8                             CENTRAL DISTRICT OF CALIFORNIA

 9                                    LOS ANGELES DIVISION

10

11 In re:                                      Case No. 2:18-bk-20704-NB
12 FINNIAN OSAKPAMWAN EBUEHI                   Chapter 7
13 and                                         ORDER COMPELLING TURNOVER OF
                                               PROPERTY OF THE BANKRUPTCY
14 ELIZABETH OLOHIRERE EBUEHI,                 ESTATE AND ESTABLISHING
                                               PROCEDURES FOR REMOVAL AND
15                Debtors.                     DISPOSAL OF ANY REMAINING
                                               PERSONAL PROPERTY; WRIT OF
16                                             ASSISTANCE
17                                             Date:       March 31, 2020
                                               Time:       11:00 a.m.
18                                             Ctrm:       1545
                                                           255 E. Temple Street
19                                                         Los Angeles, California 90012
                                               Judge:      Hon. Neil W. Bason
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                                                                          Exhibit 4, p. 41
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 1           On March 31, 2020, on the 11:00 a.m. calendar, in Courtroom 1545 of the United States

 2 Bankruptcy Court located at 255 E. Temple Street, Los Angeles, California 90012, the Honorable

 3 Neil W. Bason, United States Bankruptcy Judge, conducted a hearing on the Motion For (1) Order

 4 To Compel Turnover Of Property Of The Bankruptcy Estate And Establishing Procedures For

 5 Removal And Disposal Of Any Remaining Personal Property, And (2) Writ Of Assistance (ECF No.

 6 ____, the “Motion”) filed on March 10, 2020 by Peter J. Mastan, the Chapter 7 trustee (the

 7 “Trustee”) of the bankruptcy estate (the “Estate”) of joint debtors Finnian Osakpamwan Ebuehi and

 8 Elizabeth Olohirere Ebuehi (collectively, the “Debtors” or the “Ebuehis”) in the above-captioned

 9 bankruptcy case (the “Case”). Ashleigh A. Danker, Esq. of Dinsmore & Shohl LLP appeared on

10 behalf of the Trustee. The Trustee appeared for himself. All other appearances were as stated on

11 the record.

12           The Court, having considered the Motion, all pleadings filed in support thereof, all pleadings

13 filed in opposition thereto, the arguments of counsel, good cause appearing, and for the reasons

14 stated on the record and in the Motion, finds and directs as follows:

15           1.      The Motion is granted.

16           2.      Federal Rule of Bankruptcy Procedure 7070 is applicable to the Motion and all

17 efforts to enforce this Order.

18           3.      The Debtors, and all other persons, if any, claiming rights of possession through the

19 Debtors with respect to the residence located at 619 W. Gladstone Street, Glendora, 91740 (the

20 “Gladstone Property”) (collectively, the “Occupants”), shall deliver possession of the Gladstone

21 Property to the Trustee (by personally vacating the Gladstone Property, removing all of their

22 personal property from the Gladstone Property, leaving the Gladstone Property in broom-clean

23 condition, and delivering to the Trustee the keys to the Gladstone Property, security codes for all

24 security systems, and any garage door and/or driveway gate remote controls that may exist) within

25 two (2) business days after the entry of the Order on this Motion.

26           4.      Any personal property remaining in or on the Gladstone Property after two (2)

27 business days after entry of the Order on this Motion is deemed to have been abandoned by the

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 1 Occupants.

 2           5.     If the Occupants fail to timely vacate the Gladstone Property, the Trustee is

 3 authorized to instruct the U.S. Marshal Service to execute this Writ or Order by (a) evicting and

 4 locking out all Occupants of the Gladstone Property, (b) using all necessary force to effectuate the

 5 eviction; and (c) surrendering possession of the Gladstone Property to the Trustee’s designated

 6 custodian.

 7           6.     This Order constitutes a writ of possession and writ of assistance for the Gladstone

 8 Property. The legal address of the Gladstone Property is:

 9                  Real property in the City of Glendora, County of Los Angeles, State
                    of California, described as follows:
10
                    THE SOUTHERLY 170 FEET OF THE WESTERLY 127 FEET OF
11                  THE EASTERLY 254.43 FEET OF LOT 6 OF TRACT 387, IN THE
                    CITY OF GLENDORA, AS PER MAP RECORDED IN BOOK 21
12                  PAGES 178 AND 179 OF MAPS, IN THE OFFICE OF THE
                    COUNTY RECORDER OF SAID COUNTY.
13                  EXCEPT THE SOUTHERLY 10 FEET OF THE WESTERLY
                    127.00 FEET OF THE EASTERLY 254.43 FEET OF LOT 6.
14
                    APN: 8632-017-015
15

16           7.     Upon execution and entry of this Writ or Order, the United States Marshals Service

17 (the “U.S. Marshal”) is immediately directed to assist the Trustee to enforce the above Order

18 awarding possession.

19           8.     The Trustee and/or his authorized agents will act as substitute custodian of any and

20 all items of personal property seized pursuant to this Order and the U.S. Marshal shall have no

21 liability arising from any acts, incidents, or occurrences in connection with the seizure of the

22 personal property located at the subject real property arising in the ordinary authorized scope of

23 duties of the U.S. Marshal (which acts do not include acts arising from negligent or intentional

24 tortious conduct), including any third party claims and the U.S. Marshal shall be discharged of his

25 or her duties and responsibilities for safekeeping of the seized goods.

26           9.     The U.S. Marshal accomplishing such seizure shall use whatever reasonable force

27 necessary to break open and enter the subject real property regardless of whether the premises or

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 1 location is locked or unlocked, occupied or unoccupied and to inspect the contents of any room,

 2 closet, cabinet, vehicle, container, desk or documents.

 3           10.    Anyone interfering with the execution of this Order is subject to arrest by law

 4 enforcement officials.

 5           11.    Once all Occupants of the Gladstone Property have voluntarily vacated or been

 6 forcibly removed, and the Gladstone Property has been secured, the United States Marshal shall

 7 turn over possession of the Gladstone Property to the Trustee or his attorney, Ashleigh A. Danker,

 8 Esq. at Dinsmore & Shohl LLP, 550 S. Hope Street, Suite 1765, Los Angeles, CA 90071.

 9           12.    The Trustee is authorized to expend funds to (a) rent a U-Haul (or similar) moving

10 truck, (b) hire an agent and/or moving company (without the need of filing an employment or fee

11 application) to facilitate the removal of any personal property at the Gladstone Property, (c) dispose

12 of any personal property remaining in or on the Gladstone Property, and (d) change the locks and

13 security codes to the Gladstone Property.

14           13.    The Trustee is authorized to remove any and all personal property remaining in

15 or on the Gladstone Property at any time beginning three (3) business days after entry of this

16 Order.

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 1           14.   The Trustee, in the exercise of his discretion, is authorized either to discard or

 2 donate to a charity any and all personal property removed by the Trustee pursuant to this

 3 Order and to incur and pay for the costs of such disposal, all without further order of the

 4 Court.

 5           15.   Upon completion of the procedures in paragraphs 12-14, the Trustee is deemed to

 6 have satisfied any obligation he may have under California law (or other applicable law) relating to

 7 the removal, disposal, and/or abandonment of personal property.

 8           IT IS SO ORDERED.

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                                                                               Exhibit 4, p. 45
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  1                               PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
      business address is:
  3                                      550 S. Hope Street, Suite 1765
                                         Los Angeles, California 90071
  4
      A true and correct copy of the foregoing document entitled (specify): Notice Of Motion And
  5   Motion For (1) Order To Compel Turnover Of Property Of The Bankruptcy Estate And
      Establishing Procedures For Removal And Disposal Of Any Remaining Personal Property, And
  6   (2) Writ Of Assistance; Memorandum Of Points And Authorities; Declarations Of Peter J.
  7   Mastan, Pamela C. Temple, And Ashleigh A. Danker In Support Thereof; And Exhibits will be
      served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
  8   2(d); and (b) in the manner stated below:

  9   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
      Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
 10   court via NEF and hyperlink to the document. On March 10, 2020, I checked the CM/ECF docket
      for this bankruptcy case or adversary proceeding and determined that the following persons are on
 11   the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 12                                                     Service information continued on attached page
 13   2. SERVED BY UNITED STATES MAIL:
      On March 10, 2020, I served the following persons and/or entities at the last known addresses in
 14   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
      envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
 15   the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
      hours after the document is filed.
 16
                                                        Service information continued on attached page
 17
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
 18   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
      F.R.Civ.P. 5 and/or controlling LBR, on March 10, 2020, I served the following persons and/or
 19   entities by personal delivery, overnight mail service, or (for those who consented in writing to such
      service method), by facsimile transmission and/or email as follows. Listing the judge here
 20   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
      completed no later than 24 hours after the document is filed.
 21
                                                        Service information continued on attached page
 22
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and
 23   correct.
 24
        3/10/2020 Katrice Ortiz                            /s/ Katrice Ortiz
 25     Date                Printed Name                   Signature
 26

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  1                                  In re Finnian Osakpamwan Ebuehi
                                                     and
  2                                      Elizabeth Olohirere Ebuehi
                                       U.S.B.C. – Los Angeles Division
  3                                      Case No. 2:18-bk-20704-NB

  4       I.       SERVED VIA NEF:

  5            Edwin I Aimufua on behalf of Debtor Finnian Osakpamwan Ebuehi
               eia@aimufualaw.com, legalsupport@sfvlawcentergroup.org
  6
               Edwin I Aimufua on behalf of Joint Debtor Elizabeth Olohirere Ebuehi
  7            eia@aimufualaw.com, legalsupport@sfvlawcentergroup.org

  8            Michael Jay Berger on behalf of Defendant Elizabeth Ebuehi
               michael.berger@bankruptcypower.com,
  9            yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com

 10            Michael Jay Berger on behalf of Defendant Finnian Ebuehi
               michael.berger@bankruptcypower.com,
 11            yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com

 12            Michael Jay Berger on behalf of Interested Party Courtesy NEF
               michael.berger@bankruptcypower.com,
 13            yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com

 14            Joseph P Buchman on behalf of Creditor Poser Investments, Inc.
               jbuchman@bwslaw.com, svasquez@bwslaw.com
 15
               Joseph P Buchman on behalf of Interested Party Courtesy NEF
 16            jbuchman@bwslaw.com, svasquez@bwslaw.com

 17            Joseph P Buchman on behalf of Plaintiff Poser Investments, Inc.
               jbuchman@bwslaw.com, svasquez@bwslaw.com
 18
               Theron S Covey on behalf of Creditor DEUTSCHE BANK NATIONAL TRUST
 19            COMPANY
               tcovey@rasflaw.com
 20
               Ashleigh A Danker on behalf of Interested Party Courtesy NEF
 21            Ashleigh.danker@dinsmore.com,
               SDCMLFiles@DINSMORE.COM;Katrice.ortiz@dinsmore.com
 22
               Ashleigh A Danker on behalf of Trustee Peter J Mastan (TR)
 23            Ashleigh.danker@dinsmore.com,
               SDCMLFiles@DINSMORE.COM;Katrice.ortiz@dinsmore.com
 24
               Anthony Obehi Egbase on behalf of Attorney A.O.E Law Associates, APC
 25            info@aoelaw.com, sandy@ecf.inforuptcy.com;egbasear54561@notify.bestcase.com

 26            Anthony Obehi Egbase on behalf of Defendant Elizabeth Ebuehi
               info@aoelaw.com, sandy@ecf.inforuptcy.com;egbasear54561@notify.bestcase.com
 27
               Anthony Obehi Egbase on behalf of Defendant Finnian Ebuehi
 28            info@aoelaw.com, sandy@ecf.inforuptcy.com;egbasear54561@notify.bestcase.com

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  1            Todd S Garan on behalf of Creditor U.S. Bank Trust National Association, not in its
               individual capacity but solely as owner trustee for Legacy Mortgage Asset Trust 2017-
  2            RPL2; Rushmore Loan Management, LLC as servicer
               ch11ecf@aldridgepite.com, TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
  3
               Todd S Garan on behalf of Interested Party Courtesy NEF
  4            ch11ecf@aldridgepite.com, TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com

  5            Rafael R Garcia-Salgado on behalf of Plaintiff Poser Investments, Inc.
               rgarcia@goeforlaw.com, kmurphy@goeforlaw.com
  6
               Dare Law on behalf of U.S. Trustee United States Trustee (LA)
  7            dare.law@usdoj.gov

  8            Peter J Mastan (TR)
               peter.mastan@dinsmore.com, pmastan@iq7technology.com;travis.terry@dinsmore.com
  9
               Richard J Reynolds on behalf of Creditor Poser Investments, Inc.
 10            rreynolds@bwslaw.com, psoeffner@bwslaw.com,tmurphy@bwslaw.com,rjr-
               nef@bwslaw.com,fcabezas@bwslaw.com,jgomez@bwslaw.com
 11
               Richard J Reynolds on behalf of Interested Party Courtesy NEF
 12            rreynolds@bwslaw.com, psoeffner@bwslaw.com,tmurphy@bwslaw.com,rjr-
               nef@bwslaw.com,fcabezas@bwslaw.com,jgomez@bwslaw.com
 13
               Richard J Reynolds on behalf of Plaintiff Poser Investments, Inc.
 14            rreynolds@bwslaw.com, psoeffner@bwslaw.com,tmurphy@bwslaw.com,rjr-
               nef@bwslaw.com,fcabezas@bwslaw.com,jgomez@bwslaw.com
 15
               Josephine E Salmon on behalf of Creditor U.S. Bank Trust National Association, not in its
 16            individual capacity but solely as owner trustee for Legacy Mortgage Asset Trust 2017-
               RPL2; Rushmore Loan Management, LLC as servicer
 17            ecfcacb@aldridgepite.com, JES@ecf.inforuptcy.com;jsalmon@aldridgepite.com

 18            Cliff Schneider on behalf of Defendant Elizabeth Ebuehi
               CDS@CliffSchneiderLaw.com
 19
               Cliff Schneider on behalf of Defendant Finnian Ebuehi
 20            CDS@CliffSchneiderLaw.com

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